                    EXHIBIT 13


          CALEA STANDARDS




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     42.2.1 {LEl)
     (M M M M) (LEl) Preliminary Investigations Steps

       A written __di_recti_ve establishes steps to be followed in conducting preliminary investigations, to include:

         a. observing all conditions, events, and remarks;
         b. locating and identifying witnesses;
         c. maintaining and protecting the crime scene and arranging for the collection of evidence; and
         d interviewing the complainant, witnesses, and suspects.
       Commentary
       A properly conducted and documented preliminary_i_nvestigation_ may be sufficient to bring the case to a
       satisfactory conclusion, thus limiting the need for a follow-up i_nvestigatio_n. The investigation usually includes
       the following tasks: protecting the crime scene to ensure that evidence is not lost or contaminated;
       determining whether an offense has actually been comm itted and, if so, the exact nature of the offense;
       determining the identity of the suspect or suspects and effecting an arrest if it can be accomplished either at
       the scene or through immediate pursuit; furn ish ing other field units, through the communications system,
       descriptions, method, and direction of flight, and other relevant information concerning wanted persons or
       vehicles; obtaining complete identification of all witnesses; determining what information is known by the
       victims and witnesses; arranging for the collection of evidence; determin ing in detail the exact circumstances
       of the offense; obtaining written statements from victims, witnesses, and if legally possible, from the suspect;
       agency provides checklists to aid in criminal investigations; and accurately and completely record ing all
       pertinent information on prescribed report forms . The standard is not intended to preclude personnel
       conducting the p r.~l_ir:r:,i_r:ic:1r.x_i r.iy~-~!.i9c:1!ic:>': fro m being assigned to the fc:>llc:>....,~_~p__i':.Y..~~!_i_9._<:3!i?.':· (M M M M) (LEl)




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    42.2.2
     (M MM M) Follow-Up Investigations Steps

       A written _d_i_recti_ve establishes steps to be followed in conducting follow-up investigations to include, at a
       minimum:

         a. reviewing and analyzing all previous reports prepared in the preliminary phase, departmental records, and results
            from laboratory examinations;
         b. conducting additional interviews and interrogations;
         c. seeking additional information;

         d planning, organizing, conducting searches, and collecting physical evidence,
         e. identifying and apprehending suspects;
         f determining involvement of suspects in other crimes;
         g. checking suspects ' criminal histories; and
         h. preparing cases for court presentation
       Commentary
       Maintaining contact with principals in any investigation is valuable in building public confidence in the agency
       as well as indicating that the law enforcement agency is genuinely concerned about the welfare of the victim
       and other cit izens associated with the case. Agencies should seek to communicate in the most transparent
       manner possible regarding investigative efforts. Agencies should provide a checkl ist to aid in criminal
       investigations. (M M M M)




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